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                        EXHIBIT 11




DECLARATION OF ADRIENNE D. MCENTEE IN
SUPPORT OF DEFENDANT’S SUPPLEMENTAL
RESPONSE TO MOTION FOR SUMMARY
JUDGMENT - 272
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1                             UNITED STATES DISTRICT COURT
2                           WESTERN DISTRICT OF WASHINGTON
3                                            AT SEATTLE
4      _______________________________________________________
5        STRIKE 3 HOLDINGS, LLC, a                             )
6        Delaware corporation,                                 )
7                               Plaintiff,                     )
8                vs.                                           )   2:17-cv-01731-TSZ
9        JOHN DOE, subscriber assigned                         )
10       IP address 73.225.38.130,                             )
11                              Defendant.                     )
12     ______________________________________________________
13             TELEPHONIC DEPOSITION UPON ORAL EXAMINATION OF
14
15     ______________________________________________________
16
17                                             9:56 A.M.
18                                          JUNE 3, 2019
19
20
21
22
23
24     REPORTED BY:           LORI A. PORTER - RPR, CCR 2533
25     PAGES 1 - 83

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1               Q.    How far a drive did you have to make to pick
2      up your parents and take them home?
3               A.    From the house here in Auburn to Sea-Tac
4      Airport.         I don't know how many miles that is.
5               Q.    Did you have any incidents when you were
6      driving?
7               A.    You mean anxiety incidents --
8               Q.    Yes.
9               A.    -- or like a crash?
10              Q.    Well, either.            Did you feel anxiety driving to
11     and from the airport to pick up your parents?
12              A.    Yes, I did.
13              Q.    When was the last time you were not -- you
14     didn't spend the night at the house?
15              A.    Dog sitting for my sister.
16              Q.    When was that?
17              A.    Quite a while ago.               Six, eight months maybe.
18              Q.    In the past two years, can you estimate how
19     many times you've gone away overnight somewhere else?
20              A.    Four or five times, I would say.
21              Q.    Where did you go those four to five times?
22              A.    Usually it was at my sister's.               She would
23     either leave for a concert or something, and by the
24     time they would get home, it would be too late to drive
25     back.

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1              Q.     Were you babysitting?                 House-sitting?   Dog
2      sitting?         What were you doing?
3              A.     Well, she has dogs.                So, yeah, dog sitting.
4              Q.     When you're at your sister's house, do you
5      ever use the internet at her house?
6              A.     No.
7              Q.     Have you used the internet at any other
8      location besides your house?
9              A.     No.
10             Q.     Let me ask:           Your computer in your room, is it
11     hardwired in to the internet?
12             A.     With a cable, yes.
13             Q.     So it has an Ethernet cable; it doesn't
14     utilize the wireless?
15             A.     It does not.
16             Q.     Just to make sure I have a clear record, it
17     has an Ethernet cable?                  That's how it connects to the
18     internet; correct?
19             A.     Yes, it does.
20             Q.     Do you know who the internet service provider
21     is for the house?
22             A.     Comcast, I believe.
23             Q.     How do you know that it's Comcast?
24             A.     We had an installer here.
25             Q.     When did you have an installer there?

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1              A.    I believe so, yes.

2              Q.    Have you ever watched adult films?

3              A.    I have.

4              Q.    When was the last time you watched one?

5                           MR. TURNHAM:          Lincoln, I'm going to object

6      to the form of the question.                  Assuming you're going

7      down this line of questioning, I'm going to object to

8      the whole line on the basis that this is irrelevant to

9      any of the claims that are at issue.                        My client is a

10     third party to this lawsuit and is not subject to the

11     lawsuit and shouldn't be subject to a fishing

12     expedition.

13                          MR. BANDLOW:          Are you going to instruct

14     the witness not to answer questions about his

15     experience with adult films?

16                          MR. TURNHAM:          I have not instructed him

17     not to answer, but I'm just letting you know I'm going

18     to lay out a general objection to any line of

19     questioning down that path.

20                          MR. BANDLOW:          Okay.

21             Q.    (By Mr. Bandlow)           So with that objection in

22     mind, without an instruction not to answer,

23     Mr. Isaksen, when was the last -- have you watched

24     adult films on your computer?

25             A.    I have.

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1               Q.    Are there any particular names of adult film
2      companies whose films you've watched as you can recall
3      as we sit here today?
4               A.    Company names are not something I paid
5      attention to.
6               Q.    You don't have any names of any particular
7      adult -- how about any particular adult websites?                    Can
8      you think of any names of any that you've watched?
9               A.    No.     I don't usually visit the websites.
10              Q.    Have you ever watched adult content on a
11     computer?
12              A.    Yes, I have.
13              Q.    So how is it you access the adult content if
14     it's not through websites?
15                            MR. TURNHAM:           Objection to form.
16              Q.    (By Mr. Bandlow)              Have you accessed any adult
17     content on a computer through an adult content website?
18              A.    No.
19              Q.    How is it you've watched adult content on a
20     computer if not through a website?
21              A.    I've watched it through a torrent.
22              Q.    Through BitTorrent?
23              A.    Yes.
24              Q.    What do you understand BitTorrent to be?
25              A.    It's -- I guess it's a program where you

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1      exchange files back and forth.
2               Q.    And you've used BitTorrent; correct?
3               A.    I have.
4               Q.    How often have you used it?
5               A.    A little bit.            I'm not sure how you gauge
6      that.
7               Q.    You use that on your current computer?
8               A.    No.
9               Q.    Where have you used BitTorrent on?
10              A.    I've used it on the previous computer.
11              Q.    The prior computer that was the -- was that
12     during the period of May 2017 through December 2017?
13              A.    That's possible.
14                            (Interruption in the proceedings.)
15                            THE WITNESS:           Excuse me.         The doorbell
16     rang.
17                            MR. BANDLOW:           Okay.         Let's take a break
18     and see if that's the messenger.
19                            (Deposition at recess.)
20                            MR. BANDLOW:           I'm going to go in a little
21     different direction for a moment here.                           I understand
22     from the court reporter that a messenger showed up to
23     the house.           The court reporter has a witness fee check.
24     I would ask that the court reporter give that check to
25     the witness' counsel just so they have that, please.

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